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                       EXHIBIT 4




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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION




  IN RE: TAXOTERE (DOCETAXEL)                    MDL NO. 2740
  PRODUCTS LIABILITY LITIGATION




                     BRIEF IN SUPPORT OF MOTION TO VACATE
                     CONDITIONAL TRANSFER ORDER (“CTO-56”)

        Pursuant to 28 U.S.C. § 1447(c) and the legal and factual arguments contained herein,

 CTO-56 should be vacated pending remand to the Middlesex County, New Jersey Law Division

 Multi-County Litigation for improper “snap removal”.

                                           BACKGROUND

        Fourteen complaints were mailed to the Court for filing on April 27, 2020, as was

 standard practice and protocol for MCL cases in Middlesex County (Bidwell, Bryant, Cooper,

 Cora, Gamboa, Glover, Gough, Haughton, Pack, Payton, Rooney, Siciliano, Sullivan and Vicks).

 Exhibit F, Affidavit of Karen Beyea-Schroeder. Despite the proper mailing of these Complaints,

 the Court shut down and halted the Court’s filing process. In the Court’s haste to protect the

 health and safety of its employees, the Complaints at issue became lost. Id. The Court’s MCL

 Manager, Delores Taylor, called Plaintiffs’ counsel and advised they were scouring the

 courthouse to look for the Complaints. Id. These calls to find the missing Complaints continued

 through May 19, 2020. Id. The Plaintiff only found out the cases ultimately became filed when

 served with Defendant’s Notices for Removal. Id. The Middlesex County Court never provided


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 any notice to the Plaintiffs that the cases were ultimately filed, given a docket number or eligible

 for service on any Defendant. Id.

           The other three cases at issue were filed on May 27, 2020. Id. The track assignment was

 not issued until May 28, 2020. Id. The Sanofi defendants, New Jersey defendants, closed their

 headquarters due to the COVID pandemic and the security guards at this facility could not accept

 service of the Complaints. Id.

           Defendant Hospira removed this action to the District Court for the District of New

 Jersey on June 4, 2020, on the basis of diversity of citizenship jurisdiction, 28 U.S.C. § 1332. To

 date, we have not received any Answer filed in these matters. In its removal papers, Hospira

 contends that removal is not barred by 28 U.S.C. § 1441(b) because Defendant was not served at

 the time of removal.

           On June 3, 2020, the United States Judicial Panel on Multidistrict Litigation (“the Panel”)

 issued Conditional Transfer Order-56 (“CTO-56”) in MDL No. 2740. This maneuver was

 simply the first step of an attempt by the Defendant to have this case be transferred to and

 consolidated in the multidistrict proceeding, In re: Taxotere (Doxetacel) Products Liability

 Litigation, MDL No. 2740, pending in the Eastern District of Louisiana, against Plaintiffs’

 wishes.

           Plaintiffs oppose this transfer and respectfully prays that the Court Vacate CTO-56 as it

 relates to each of these Plaintiffs.




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                                         ARGUMENT

    I. DEFENDANTS ARE NOT ENTITLED TO SNAP REMOVE THESE CASES

        The cases made a part of this Motion, were duly filed in the New Jersey Multicounty

 Litigation (MCL) 628 in the New Jersey Superior Court, Middlesex County. This MCL was

 formed about a year and a half ago, and has been moving forward to the present. Prior to the

 MCL 628 being formed, an MDL was created and coordinated in the U.S. District Court for the

 Eastern District of Louisiana, styled In Re Taxotere (Docetaxel) Products Liability Litigation,

 MDL 2740, assigned to Hon. Jane Triche Milazzo.

        At the time of filing the Complaints for the plaintiffs at issue, New Jersey Federal and

 State Courts were under a strict set of Emergency Orders restricting access to those Courts and

 expanding and loosening the rules pertaining to ensuring the safety and health of court

 employees. See Exhibit A and Exhibit B.

        Fourteen complaints were mailed to the Court for filing on April 27, 2020, as was

 standard practice and protocol for MCL cases in Middlesex County (Bidwell, Bryant, Cooper,

 Cora, Gamboa, Glover, Gough, Haughton, Pack, Payton, Rooney, Siciliano, Sullivan and Vicks).

 Exhibit F, Affidavit of Karen Beyea-Schroeder. Despite the proper mailing of these Complaints,

 the Court shut down and halted the Court’s filing process. In the Court’s haste to protect the

 health and safety of its employees, the Complaints at issue became lost. Id. The Court’s MCL

 Manager, Delores Taylor, called Plaintiffs’ counsel and advised they were scouring the

 courthouse to look for the Complaints. Id. These calls to find the missing Complaints continued

 through May 19, 2020. Id. The Plaintiff only found out the cases ultimately became filed when

 served with Defendant’s Notices for Removal. Id. The Middlesex County Court never provided


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 any notice to the Plaintiffs that the cases were ultimately filed, given a docket number or eligible

 for service on any Defendant. Id.

        The other three cases at issue were filed on May 27, 2020. Id. The track assignment was

 not issued until May 28, 2020. Id. The Sanofi defendants, New Jersey defendants, closed their

 headquarters due to the COVID pandemic and the security guards at this facility could not accept

 service of the Complaints. Id.

        Therefore, it is submitted the only way Defendants could have filed these removals is if

 they were monitoring the Docket to hedge their bets they could game the system and beat the

 process server to their doors despite any Emergency Orders. It’s bad enough they feel monitoring

 was necessary to deprive Plaintiffs their right to choose venue, but to do it in the middle of a

 pandemic makes this conduct reprehensible.

        Before Plaintiffs or their process server was able to obtain the conformed copies of the

 Complaints, which were necessary to properly serve Defendants, their counsel filed “Snap

 Removals” for all the cases. Simply put, while Plaintiffs were required to serve Defendants with

 conformed copies of the Complaints, the cases were removed before they could obtain that

 which was required in order to effect service, meaning they gamed the system by removing

 before they could possibly be served. See Encompass, 902 F.3d at 153 (quoting 28 U.S.C.

 1441(b)(2)).

        So if no Defendant could have been served pursuant to the Rules, they cannot argue that

 they were permitted to snap remove. See N.J. Ct. R. 4:4-4(a)(6) (service may be effected “[u]pon

 a corporation, by serving a copy of the summons and complaint ... o[n] any person authorized by

 appointment or by law to receive service of process on behalf of the corporation,” such as a


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 registered agent for service); see also Senju Pharm. Co., Ltd. v. Metrics, Inc., 96 F. Supp. 3d 428,

 436 (D.N.J. 2015) (noting that “New Jersey Court Rule 4:4-4(a)(6) allows for in personam

 jurisdiction over a corporate defendant by personal service within the state upon an authorized

 agent of the corporation.”).

                            II. COVID-19 AND SNAP REMOVALS

        A. Overview of New Jersey Snap Removals And Covid-19 Issues

                1. Pre Covid-19 Snap Removal Issues

        Prior to the Covid-19 problem, on November 14, 2019, the United States House Judiciary

 Subcommittee on Courts, Intellectual Property, and the Internet held a hearing entitled,

 “Examining the Use of ‘Snap’ Removals to Circumvent the Forum Defendant Rule.” The

 Subcommittee heard testimony from four witnesses of varying backgrounds, including a noted

 New Jersey mass tort attorney, Ellen Relkin, Esq. The Subcommittee also heard testimony from

 Kaspar J. Stoffelmayr, Esq., who testified on behalf of Lawyers for Civil Justice, “a national

 coalition of law firms, corporations and defense trial lawyer organizations. The testimony

 indicated that snap removals were an inappropriate attempt to place an unnecessary roadblock to

 forum selection. That Committee found that:

                Pre-service removal by means of monitoring the electronic docket
                smacks more improper joinder of a forum defendant that plaintiff
                has no intention of serving. When the “joined and served”
                language was added to Section 1441(b) in 1948, “Congress could
                not possibly have anticipated the tremendous loophole that would
                one day manifest from technology enabling forum defendants to
                circumvent the forum defendant rule by … electronically
                monitoring state court dockets.” Sullivan v. Novartis Pharms.
                Corp., 575 F. Supp. 2d 640, 645-46 (D.N.J. 2008). “As a matter of
                common sense, … Congress did not add the “properly joined and
                served” language in order to reward defendants for conducting and
                winning a race, which serves no conceivable public policy goal, to

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               file a notice of removal before the plaintiffs can serve process.” Id.
               at 646.”

 See Kaspar J. Stoffelmayr, Testimony of Kaspar J. Stoffelmayr. House Judiciary, Examining the

 Use of “Snap” Removals to Circumvent the Forum Defendant Rule. YOUTUBE (Nov. 14, 2019).

        In another matter, Perez v. Forest Laboratories, Inc., 902 F. Supp. 2d 1238, 1243 (E.D.

 Mo. 2012), the Perez Court found:


               The intent underlying the forum defendant rule and the “joined and
               served” language is to allow out-of-state defendants to avoid local
               bias and remove to a federal forum, while preventing plaintiffs
               from joining, but not serving, forum defendants to block removal.
               It is unlikely that the plain wording of Section 1441(b)(2) broadly
               encompasses an electronic docket vigil that would enable forum
               defendants, or out-of-state defendants joined to forum defendants,
               to exercise their own forum-shopping manipulation of jurisdiction.

               Here, strict adherence to statutory language would run counter to
               legislative intent instead of furthering it. Forest removed six days
               after Plaintiffs initiated this suit. There was no opportunity to
               effect service on any defendant prior to removal. The rationale of
               the forum defendant rule applies to the parties in this action as the
               presence of a local defendant, Forest Pharmaceuticals, Inc.,
               reduces the need for a neutral federal forum offering a respite from
               local bias. The tactical advantage offered to the defendant by the
               electronic docket is just as inconsistent with the concerns of
               diversity and removal jurisdiction as improper joinder by a
               plaintiff. Here, the fear of local bias is particularly questionable as
               Plaintiffs are out-of-state litigants as well as Forest. While
               electronic docketing makes removal possible, it does not make it
               proper.

 Id. at 1245-46. Finally, Judge Webber concluded: “This Court finds that pre-service removal

 here, even if within the plain language of Section 1441(b)(2), is inconsistent with the

 fundamental purposes of removal…..” Id. at 1246.




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        Hospira is attempting to game the system which is against public policy and runs counter

 to the legislative intent of the law. Moreover, with Hospira bearing the burden to prove that (1)

 federal subject matter jurisdiction exists, (2) removal was timely filed, and (3) removal was

 proper, and given the facts herein, Defendant cannot meet its burden of proof. See 28 U.S.C. §§

 1441, 1446, 1447; see Boyer v. Snap-on Tools, Corp., 913 F.2d 108, 111 (3d Cir. 1990); see also

 Dutton, supra. There is no way Defendant meets this burden of proof given that the Middlesex

 County Court failed to provide any notice to Plaintiffs that the conformed Complaints were filed

 and available to be served. In addition to the fact that the Covid-19 issues must extend time for

 service and the local defendant, Sanofi, closed their headquarters due to the pandemic.

                2. New Jersey Post Covid-19 Issues

        On March 11, 2020, the World Health Organization classified COVID-19 as a global

 pandemic, anticipating that “the number of cases, the number of deaths, and the number of

 affected   countries”   would     increase.    World    Health   Organization,   Mar.     11,   2020

 (https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-

 briefing-on-covid-19---11-march-2020) (last visited Jun. 24, 2020).        Around that time, the

 United States had reported only approximately 1,000 cases of COVID-19. As of June 24, 2020,

 that number has risen to over 2.3 million and the virus has taken 121,117 lives nationally.

 Centers      for   Disease      Control   and      Prevention,   CDC    COVID     Data      Tracker,

 https://www.cdc.gov/covid-data-tracker/#cases (last visited Jun. 24, 2020). New York and New

 Jersey have the greatest number of infections and deaths in the nation, with New Jersey reporting

 a total of 169,734 cases. Id. According to the Centers for Disease Control and Prevention (the

 “CDC”), COVID-19 spreads mainly from person-to-person between those “who are in close


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 contact with one another (within about 6 feet)” and possibly when people touch contaminated

 surfaces and then touch their mouths, noses, or eyes. Center for Disease Control and Prevention,

 Social     Distancing,    https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-

 distancing.html (last visited Jun. 24, 2020). The most common symptoms of COVID-19 include

 fever, cough, and shortness of breath. Center for Disease Control and Prevention, Symptoms of

 Coronavirus,       https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html

 (last visited Jun. 24, 2020). There is presently no vaccine to prevent COVID-19 infections. The

 CDC and health experts thus emphasize the importance of “social distancing” (i.e. staying at

 least six feet apart), regularly disinfecting “high touch” surfaces, and wearing cloth face covering

 to curtail the spread of the virus. Center for Disease Control and Prevention, Social Distancing,

 https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-distancing.html          (last

 visited Jun. 24, 2020).

          Experts also still have much to learn about how the virus spreads. On or about March 30,

 2020, the CDC director, Dr. Robert Redfield, in an interview with National Public Radio affiliate

 WABE, stated that a significant number of individuals that are infected actually remain

 asymptomatic, which may be as high as 25 percent. Whitehead, Sam. CDC Director on the

 Coronavirus Fight for the Months to Come, WABE (Mar. 30, 2020)( https://www.wabe.org/cdc-

 director-on-whats-needed-in-the-fight-against-coronavirus/)(last visited Jun. 24, 2020). This is

 important because asymptomatic individuals contribute to the transmission of the virus.

 Furthermore, those who become symptomatic can likely transmit the virus up to 48 hours before

 they show symptoms. These asymptomatic transmitters and individuals who are transmitting the

 virus before they become symptomatic help explain how rapidly the virus can spread. Id.


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           Symptoms of COVID-19 can be mild, and anyone can have mild to severe symptoms.

  Center      for   Disease      Control     and      Prevention,    Symptoms      of    Coronavirus,

  https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html (last visited Jun.

  24, 2020). Certain individuals are at higher risk for severe illness or death if they contract

  COVID-19. Among them are persons who are 65 and older, those in nursing homes or long-term

  care facilities, and people of all ages who are immunocompromised. Centers for Disease Control

  and       Prevention,       People       Who       Need       to   Take     Extra      Precautions,

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/index.html (last visited Jun.

  24, 2020). It was clear the best way to prevent illness is to avoid being exposed to this virus. This

  basic fact concerned the State of New Jersey, so the state issued various orders, including those

  which required its citizens to remain at home, but if you had to go out, you needed to practice

  social distancing and ensure proper hygiene to minimize the risk of infection. State of New

  Jersey Governor Phil Murphy, https://www.nj.gov/governor/news/news/562020/20200320j.shtml

  (last visited Jun. 24, 2020); See also, State of New Jersey Department of Health, Communicable

  Disease    Service,     https://www.state.nj.us/health/cd/topics/covid2019_community.shtml      (last

  visited Jun. 24, 2020).

           This “social distancing” and stay at home order also applied to the courts of New Jersey,

  which obviously made it nearly impossible to conduct legal affairs as had been normal. See

  Kolawole O.T. v. Ahrendt, 2020 U.S. Dist. LEXIS 101307, 6-15, Civil Action No. 19-21802-

  MCA (D.N.J. June 10, 2020).




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         B. Specific orders related to the New Jersey Federal Courts

         In response to the Covid-19 national emergency declaration, as set forth in U.S. District

  Court of New Jersey, Standing Order 2020-12, which superseded previous Standing Orders

  2020-02, 2020-03, 2020-04 and 2020-09, see Exhibit B, the New Jersey District Court ordered,

  in pertinent part as follows:


                 The Court ORDERS that this Standing Order supersedes Standing
                 Orders 2020-02, 2020-03, 2020-04 and 2020-09…

                 The Court ORDERS that the provisions in its prior Standing
                 Orders that, all filing and discovery deadlines in civil matters that
                 fell between March 25, 2020 and April 30, 2020 were extended by
                 forty-five (45), and those that fell between May 1, 2020 and May
                 31, 2020 were extended by thirty (30) days, remain in effect,
                 unless a presiding judge in an individual case directs otherwise.
                 This Order affords no further extensions of filing and discovery
                 deadlines. This extension does not apply to any scheduled dates of
                 conferences, which are controlled by the presiding judge…

                 The Court further ORDERS that all deadlines set by Federal or
                 Local Rules or Court Orders, including, but not limited to,
                 scheduling orders in all civil cases, remain in effect unless
                 modified by this Standing Order, further Order of the Court or by
                 Order of the assigned judicial officer. Any dispute over whether
                 discovery can be effectively accomplished in a manner consistent
                 with applicable health guidelines may be referred to the Magistrate
                 Judge for resolution. Judicial officers may apply the principles of
                 flexibility and accommodation to reasonable requests for filing or
                 scheduling adjustments necessitated by reasonable and fact- based
                 travel, health or safety concerns, or advice or directives of public
                 health officials…

                 The Court ORDERS that aside from ordering a jury trial,
                 individual judges presiding over civil and criminal proceedings
                 may take such actions consistent with this Order and the Recovery
                 Guidelines as may be lawful and appropriate to ensure the fairness
                 of the proceedings and preserve the substantial rights of the
                 parties…


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                   The Court ORDERS that any litigant may seek such relief from
                   this Order that he/she deems necessary due to emergent
                   circumstances.

                   The Court further ORDERS that additional Orders addressing
                   Court Operations Under the Exigent Circumstances Created by
                   COVID-19 shall be entered as warranted, and that this Standing
                   Order will expire no later than August 31, 2020, unless extended
                   by further Order of the Court…”

  See Exhibit B.

         A reasonable reading of these orders implies that remand motions should be liberally

  interpreted in light of such emergent situations, that “snap removals” must be disfavored and

  subject to remand pending the expiration of the emergency rules as set forth above. This Order

  clearly states that any filing deadlines occurring between March 25, 2020 and April 30, 2020 are

  extended 45 days, and those deadlines occurring from May 1, 2020 to May 31, 2020, are

  extending by 30 days. Reading that with other subparts, this Order means that cases should be

  treated with rulings consistent with fundamental fairness and these Orders. Nothing is more

  fundamentally fair than allowing objecting Plaintiffs the right to file the appropriate remand

  motions to respect their choice of venue in New Jersey. Old “snap removal” rules cannot hold

  sway in the Covid-19 Emergency, when the Orders are designed to alter such rules to reflect the

  extra short period of time required to effect service on Defendants properly joined.

        C.         Specific orders related to the New Jersey State Court

        The question of “remand” to NJ State Court must be a function of whether the “snap

  removal” was appropriate is a matter of NJ State law. In accord with the Federal Emergency

  Rules, the State Courts in New Jersey had and still have similar rules in place. On March 15,

  2020, the New Jersey Supreme Court ordered that “time constraints for discovery will be


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  relaxed” and that “filings still will be accepted through eCourts for applicable case types and on

  paper for other cases with the required fee to be submitted as usual.” Exhibit A. It did not

  require electronic filings, and in MCL cases, the practice, protocol and procedure at the time was

  to mail in the Complaints. Then on March 27, 2020, the New Jersey Supreme Court ordered that

  “Rule 4:4-1 is relaxed and supplemented to extend the time period for issuance of a summons

  from within 15 days to within 60 days….” Id., at (3)(d). The Covid-19- Second Omnibus Order

  On Court Operations And Legal Practice - More Operations To Be Conducted Remotely;

  Exhibit A, provides, in pertinent part as follows:

                 During the COVID-19 pandemic, most court operations have
                 continued remotely in all levels of the court system. Since
                 transitioning to virtual operations, the courts have conducted more
                 than 12,000 remote court events involving more than 80,000
                 participants…

                 The COVID-19 pandemic continues to affect attorneys, parties,
                 and others, both professionally and personally. "In recognition of
                 the pervasive and severe effects of the COVID-19 public health
                 crisis, the court in any individual matter consistent with Rule 1:1-
                 2(a) may suspend proceedings, extend discovery or other
                 deadlines, or otherwise accommodate the legitimate needs of
                 parties, attorneys, and others in the interests of justice." Such
                 individual requests for extensions may be submitted by letter in
                 lieu of a formal motion…

                 The New Jersey courts are continuing to provide meaningful
                 access to justice throughout this unprecedented emergency.
                 Sustaining and expanding that access requires a careful and
                 considered balancing of the important interests at stake, as
                 implemented in the Court's April 24 Second Omnibus Order. As
                 the COVID-19 pandemic continues, the Court will revisit these
                 matters and adjust as appropriate...

  See Exhibit A. This did not change the method of filing Complaints.




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            Moreover, reading this clearly implies that stringent time limits encompassed by the prior

  “snap removals” must be read in accord with fundamental fairness, or as specified above,

  “balancing” of the important interest as stake”. Here, those interests compel an “expansion” of

  the rules regarding remand where in less serious pandemic times, the old “snap removals” may

  be far more palatable than they are in quieter times.

            Hospira’s gamesmanship in violation of these New Jersey State orders during this

  pandemic is evident in their pleadings. The Bramblett Notice of Removal was so hastily drawn

  that it failed to mention the facts surrounding service, only that that it was allegedly not

  accomplished. Ex. C. They did not even note they are not a party to the litigation. Id. The

  burden is on the party removing to prove it did not receive notice. With the Court losing the

  Complaints, failing to provide any notice to Plaintiff that the cases were found and filed with

  conformed Complaints being ready for service in addition to the fact that Sanofi’s headquarters

  was closed and not accepting service, these are but a few of the many issues during this

  pandemic for why “snap removals” should not be considered during in these matters. See

  Exhibit F. Merely stating it as an allegation is hardly meeting it’s burden of proof, especially

  when “snap removals” are so hastily undertaken that they are not even a party to the lawsuit they

  remove. We are unsure which other Notices of Removal are equally infirm.

     III.      The MDL should vacate CTO-56 and allow the transferor court to rule on the
                                        Motion to Remand.

            Plaintiffs further submit that a transfer to another court before the putative transferor

  court decides the motion to remand would be inappropriate and a needless waste of all parties’

  time and resources. The transferor court retains jurisdiction on pending motions despite the entry

  of a conditional transfer order. See, e.g., Smith v. Mail Boxes, Etc., 191 F.Supp.2d 1155, 1157

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  (E.D. Cal. 2002) (quoting J.P.M.L. R. 1.5: “… conditional transfer order … does not affect or

  suspend orders and pretrial proceedings in the district court in which the action is pending and

  does not in any way limit the pretrial jurisdiction of that court”); Kohl v. Am. Home Prods.

  Corp., 78 F. Supp. 885, 888 (W.D. Ark. 1999) (same); Illinois Municipal Retirement Fund v.

  CitiGroup, Inc., 391 F.3d 844, 851-52 (7th Cir. 2004) (in a case involving a remand order by a

  district court, while an MDL had already been created, the Seventh Circuit held “[w]e will not

  require a district court that believes that it lacks subject matter jurisdiction over a case to

  facilitate a transfer under § 1407, a statute that does not itself confer jurisdiction.”).

          Transfer to another federal court when the subject matter jurisdiction of the transferor

  court has been vigorously and fully contested, by both Plaintiffs and some Defendants in the

  instant action, is especially inappropriate. As the Sixth Circuit Court of Appeals has observed in

  a similar context:

          No matter how desirable respondents feel it may be to consolidate in California
          all litigation in any way related to [the common question], there is nothing in the
          applicable statute to provide an exception to the rules normally governing
          removal of cases from state courts. Such a transfer cannot be made unless the
          district court properly has jurisdiction of the subject matter of the case.

   Bancohio Corp. v. Fox, 516 F.2d 29, 32 (6th Cir. 1975).

          Transferor courts are thus encouraged to decide motions to remand during the pendency

  of conditional transfer orders. In Totola Restaurants, L.P. v. Kimberly-Clark Corp., 987 F. Supp.

  1186 (N.D. Cal. 1997), the court noted that it, as the transferor court, “ . . . retains exclusive

  jurisdiction until the §1407 transfer becomes effective and, as such, motions to remand [to state

  court] should be resolved before the panel acts on the motion to transfer.” Id. at 1189. Likewise,

  in McQuilkin v. Ford Motor Co., Nos. 01-01-92, 2001 WL 197840 (E.D. La. Feb. 23, 2001), the


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  court refused to refrain from ruling on a motion to remand merely because a conditional transfer

  order had been entered, finding that “the motion to remand centers on questions of state law with

  which the transferor court is more likely to be familiar that the MDL transferee court.” Id. at *1.

          The questions raised by Defendant’s removal of this action strike at the heart of

  constitutional constraints on federal jurisdiction and principles of comity between state and

  federal courts. Hospira’s “hawk” approach to the docket and attempt to remove the action to

  federal court pre-service to purportedly avoid any “home court” bias of the state court –

  especially where one of the other defendants, Sanofi who created the patent for Taxotere, is a

  disingenuous argument. Plaintiffs’ Motion to Remand raises issues relating to Defendant’s legal

  gamesmanship of removing this action before the court even notified Plaintiff counsel that any

  complaint was filed. These considerations weigh heavily in favor of vacating the conditional

  transfer order to discourage gamesmanship by defendants as “[a]ll doubts about federal

  jurisdiction should be resolved in favor of remand to state court,” In re Prempro Products

  Liability Litigation, 591 F.3d at 620.

                                           CONCLUSION

          For the foregoing reasons, Plaintiffs’ concurrently-filed Motion to Vacate CTO-56

  regarding the above-referenced matters, as identified in the attached Schedule of Actions, should

  be granted. Therefore, Plaintiff respectfully requests that this panel vacate CTO-56 as it relates to

  Plaintiffs.

  DATED: June 25, 2020

                                                        Respectfully submitted,

                                                        /s/ Karen H. Beyea-Schroeder
                                                        Riley L. Burnett, Jr.

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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION




   IN RE: TAXOTERE (DOCETAXEL)                    MDL NO. 2740
   PRODUCTS LIABILITY LITIGATION




                      BRIEF IN SUPPORT OF MOTION TO VACATE
                      CONDITIONAL TRANSFER ORDER (“CTO-57”)

         Pursuant to 28 U.S.C. § 1447(c) and the legal and factual arguments contained herein,

  CTO-57 should be vacated pending remand to the Middlesex County, New Jersey Law Division

  Multi-County Litigation for improper “snap removal”.

                                            BACKGROUND

         Fourteen complaints were mailed to the Court for filing on April 27, 2020, as was

  standard practice and protocol for MCL cases in Middlesex County (Bidwell, Bryant, Cooper,

  Cora, Gamboa, Glover, Gough, Haughton, Pack, Payton, Rooney, Siciliano, Sullivan and Vicks).

  Exhibit F, Affidavit of Karen Beyea-Schroeder. Despite the proper mailing of these Complaints,

  the Court shut down and halted the Court’s filing process. In the Court’s haste to protect the

  health and safety of its employees, the Complaints at issue became lost. Id. The Court’s MCL

  Manager, Delores Taylor, called Plaintiffs’ counsel and advised they were scouring the

  courthouse to look for the Complaints. Id. These calls to find the missing Complaints continued

  through May 19, 2020. Id. The Plaintiff only found out the cases ultimately became filed when

  served with Defendant’s Notices for Removal. Id. The Middlesex County Court never provided

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  any notice to the Plaintiffs that the cases were ultimately filed, given a docket number or eligible

  for service on any Defendant. Id.

            The other three cases at issue were filed on May 27, 2020. Id. The track assignment was

  not issued until May 28, 2020. Id. The Sanofi defendants, New Jersey defendants, closed their

  headquarters due to the COVID pandemic and the security guards at this facility could not accept

  service of the Complaints. Id.

            Defendant Hospira removed this action to the District Court for the District of New

  Jersey on June 4, 2020, on the basis of diversity of citizenship jurisdiction, 28 U.S.C. § 1332. To

  date, we have not received any Answer filed in these matters. In its removal papers, Hospira

  contends that removal is not barred by 28 U.S.C. § 1441(b) because Defendant was not served at

  the time of removal.

            On June 3, 2020, the United States Judicial Panel on Multidistrict Litigation (“the Panel”)

  issued Conditional Transfer Order-56 (“CTO-57”) in MDL No. 2740. This maneuver was

  simply the first step of an attempt by the Defendant to have this case be transferred to and

  consolidated in the multidistrict proceeding, In re: Taxotere (Doxetacel) Products Liability

  Litigation, MDL No. 2740, pending in the Eastern District of Louisiana, against Plaintiffs’

  wishes.

            Plaintiffs oppose this transfer and respectfully prays that the Court Vacate CTO-57 as it

  relates to each of these Plaintiffs.




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                                          ARGUMENT

     I. DEFENDANTS ARE NOT ENTITLED TO SNAP REMOVE THESE CASES

         The cases made a part of this Motion, were duly filed in the New Jersey Multicounty

  Litigation (MCL) 628 in the New Jersey Superior Court, Middlesex County. This MCL was

  formed about a year and a half ago, and has been moving forward to the present. Prior to the

  MCL 628 being formed, an MDL was created and coordinated in the U.S. District Court for the

  Eastern District of Louisiana, styled In Re Taxotere (Docetaxel) Products Liability Litigation,

  MDL 2740, assigned to Hon. Jane Triche Milazzo.

         At the time of filing the Complaints for the plaintiffs at issue, New Jersey Federal and

  State Courts were under a strict set of Emergency Orders restricting access to those Courts and

  expanding and loosening the rules pertaining to ensuring the safety and health of court

  employees. See Exhibit A and Exhibit B.

         Fourteen complaints were mailed to the Court for filing on April 27, 2020, as was

  standard practice and protocol for MCL cases in Middlesex County (Bidwell, Bryant, Cooper,

  Cora, Gamboa, Glover, Gough, Haughton, Pack, Payton, Rooney, Siciliano, Sullivan and Vicks).

  Exhibit F, Affidavit of Karen Beyea-Schroeder. Despite the proper mailing of these Complaints,

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  Manager, Delores Taylor, called Plaintiffs’ counsel and advised they were scouring the

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  through May 19, 2020. Id. The Plaintiff only found out the cases ultimately became filed when

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  any notice to the Plaintiffs that the cases were ultimately filed, given a docket number or eligible

  for service on any Defendant. Id.

         The other three cases at issue were filed on May 27, 2020. Id. The track assignment was

  not issued until May 28, 2020. Id. The Sanofi defendants, New Jersey defendants, closed their

  headquarters due to the COVID pandemic and the security guards at this facility could not accept

  service of the Complaints. Id.

         Therefore, it is submitted the only way Defendants could have filed these removals is if

  they were monitoring the Docket to hedge their bets they could game the system and beat the

  process server to their doors despite any Emergency Orders. It’s bad enough they feel monitoring

  was necessary to deprive Plaintiffs their right to choose venue, but to do it in the middle of a

  pandemic makes this conduct reprehensible.

         Before Plaintiffs or their process server was able to obtain the conformed copies of the

  Complaints, which were necessary to properly serve Defendants, their counsel filed “Snap

  Removals” for all the cases. Simply put, while Plaintiffs were required to serve Defendants with

  conformed copies of the Complaints, the cases were removed before they could obtain that

  which was required in order to effect service, meaning they gamed the system by removing

  before they could possibly be served. See Encompass, 902 F.3d at 153 (quoting 28 U.S.C.

  1441(b)(2)).

         So if no Defendant could have been served pursuant to the Rules, they cannot argue that

  they were permitted to snap remove. See N.J. Ct. R. 4:4-4(a)(6) (service may be effected “[u]pon

  a corporation, by serving a copy of the summons and complaint ... o[n] any person authorized by

  appointment or by law to receive service of process on behalf of the corporation,” such as a


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  registered agent for service); see also Senju Pharm. Co., Ltd. v. Metrics, Inc., 96 F. Supp. 3d 428,

  436 (D.N.J. 2015) (noting that “New Jersey Court Rule 4:4-4(a)(6) allows for in personam

  jurisdiction over a corporate defendant by personal service within the state upon an authorized

  agent of the corporation.”).

                             II. COVID-19 AND SNAP REMOVALS

         A. Overview of New Jersey Snap Removals And Covid-19 Issues

                 1. Pre Covid-19 Snap Removal Issues

         Prior to the Covid-19 problem, on November 14, 2019, the United States House Judiciary

  Subcommittee on Courts, Intellectual Property, and the Internet held a hearing entitled,

  “Examining the Use of ‘Snap’ Removals to Circumvent the Forum Defendant Rule.” The

  Subcommittee heard testimony from four witnesses of varying backgrounds, including a noted

  New Jersey mass tort attorney, Ellen Relkin, Esq. The Subcommittee also heard testimony from

  Kaspar J. Stoffelmayr, Esq., who testified on behalf of Lawyers for Civil Justice, “a national

  coalition of law firms, corporations and defense trial lawyer organizations. The testimony

  indicated that snap removals were an inappropriate attempt to place an unnecessary roadblock to

  forum selection. That Committee found that:

                 Pre-service removal by means of monitoring the electronic docket
                 smacks more improper joinder of a forum defendant that plaintiff
                 has no intention of serving. When the “joined and served”
                 language was added to Section 1441(b) in 1948, “Congress could
                 not possibly have anticipated the tremendous loophole that would
                 one day manifest from technology enabling forum defendants to
                 circumvent the forum defendant rule by … electronically
                 monitoring state court dockets.” Sullivan v. Novartis Pharms.
                 Corp., 575 F. Supp. 2d 640, 645-46 (D.N.J. 2008). “As a matter of
                 common sense, … Congress did not add the “properly joined and
                 served” language in order to reward defendants for conducting and
                 winning a race, which serves no conceivable public policy goal, to

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                file a notice of removal before the plaintiffs can serve process.” Id.
                at 646.”

  See Kaspar J. Stoffelmayr, Testimony of Kaspar J. Stoffelmayr. House Judiciary, Examining the

  Use of “Snap” Removals to Circumvent the Forum Defendant Rule. YOUTUBE (Nov. 14, 2019).

         In another matter, Perez v. Forest Laboratories, Inc., 902 F. Supp. 2d 1238, 1243 (E.D.

  Mo. 2012), the Perez Court found:


                The intent underlying the forum defendant rule and the “joined and
                served” language is to allow out-of-state defendants to avoid local
                bias and remove to a federal forum, while preventing plaintiffs
                from joining, but not serving, forum defendants to block removal.
                It is unlikely that the plain wording of Section 1441(b)(2) broadly
                encompasses an electronic docket vigil that would enable forum
                defendants, or out-of-state defendants joined to forum defendants,
                to exercise their own forum-shopping manipulation of jurisdiction.

                Here, strict adherence to statutory language would run counter to
                legislative intent instead of furthering it. Forest removed six days
                after Plaintiffs initiated this suit. There was no opportunity to
                effect service on any defendant prior to removal. The rationale of
                the forum defendant rule applies to the parties in this action as the
                presence of a local defendant, Forest Pharmaceuticals, Inc.,
                reduces the need for a neutral federal forum offering a respite from
                local bias. The tactical advantage offered to the defendant by the
                electronic docket is just as inconsistent with the concerns of
                diversity and removal jurisdiction as improper joinder by a
                plaintiff. Here, the fear of local bias is particularly questionable as
                Plaintiffs are out-of-state litigants as well as Forest. While
                electronic docketing makes removal possible, it does not make it
                proper.

  Id. at 1245-46. Finally, Judge Webber concluded: “This Court finds that pre-service removal

  here, even if within the plain language of Section 1441(b)(2), is inconsistent with the

  fundamental purposes of removal…..” Id. at 1246.




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         Hospira is attempting to game the system which is against public policy and runs counter

  to the legislative intent of the law. Moreover, with Hospira bearing the burden to prove that (1)

  federal subject matter jurisdiction exists, (2) removal was timely filed, and (3) removal was

  proper, and given the facts herein, Defendant cannot meet its burden of proof. See 28 U.S.C. §§

  1441, 1446, 1447; see Boyer v. Snap-on Tools, Corp., 913 F.2d 108, 111 (3d Cir. 1990); see also

  Dutton, supra. There is no way Defendant meets this burden of proof given that the Middlesex

  County Court failed to provide any notice to Plaintiffs that the conformed Complaints were filed

  and available to be served. In addition to the fact that the Covid-19 issues must extend time for

  service and the local defendant, Sanofi, closed their headquarters due to the pandemic.

                 2. New Jersey Post Covid-19 Issues

         On March 11, 2020, the World Health Organization classified COVID-19 as a global

  pandemic, anticipating that “the number of cases, the number of deaths, and the number of

  affected   countries”   would     increase.    World    Health   Organization,   Mar.     11,   2020

  (https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-

  briefing-on-covid-19---11-march-2020) (last visited Jun. 24, 2020).        Around that time, the

  United States had reported only approximately 1,000 cases of COVID-19. As of June 24, 2020,

  that number has risen to over 2.3 million and the virus has taken 121,117 lives nationally.

  Centers      for   Disease      Control   and      Prevention,   CDC    COVID     Data      Tracker,

  https://www.cdc.gov/covid-data-tracker/#cases (last visited Jun. 24, 2020). New York and New

  Jersey have the greatest number of infections and deaths in the nation, with New Jersey reporting

  a total of 169,734 cases. Id. According to the Centers for Disease Control and Prevention (the

  “CDC”), COVID-19 spreads mainly from person-to-person between those “who are in close


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  contact with one another (within about 6 feet)” and possibly when people touch contaminated

  surfaces and then touch their mouths, noses, or eyes. Center for Disease Control and Prevention,

  Social     Distancing,    https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-

  distancing.html (last visited Jun. 24, 2020). The most common symptoms of COVID-19 include

  fever, cough, and shortness of breath. Center for Disease Control and Prevention, Symptoms of

  Coronavirus,       https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html

  (last visited Jun. 24, 2020). There is presently no vaccine to prevent COVID-19 infections. The

  CDC and health experts thus emphasize the importance of “social distancing” (i.e. staying at

  least six feet apart), regularly disinfecting “high touch” surfaces, and wearing cloth face covering

  to curtail the spread of the virus. Center for Disease Control and Prevention, Social Distancing,

  https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-distancing.html          (last

  visited Jun. 24, 2020).

           Experts also still have much to learn about how the virus spreads. On or about March 30,

  2020, the CDC director, Dr. Robert Redfield, in an interview with National Public Radio affiliate

  WABE, stated that a significant number of individuals that are infected actually remain

  asymptomatic, which may be as high as 25 percent. Whitehead, Sam. CDC Director on the

  Coronavirus Fight for the Months to Come, WABE (Mar. 30, 2020)( https://www.wabe.org/cdc-

  director-on-whats-needed-in-the-fight-against-coronavirus/)(last visited Jun. 24, 2020). This is

  important because asymptomatic individuals contribute to the transmission of the virus.

  Furthermore, those who become symptomatic can likely transmit the virus up to 48 hours before

  they show symptoms. These asymptomatic transmitters and individuals who are transmitting the

  virus before they become symptomatic help explain how rapidly the virus can spread. Id.


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           Symptoms of COVID-19 can be mild, and anyone can have mild to severe symptoms.

  Center      for   Disease      Control     and      Prevention,    Symptoms      of    Coronavirus,

  https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html (last visited Jun.

  24, 2020). Certain individuals are at higher risk for severe illness or death if they contract

  COVID-19. Among them are persons who are 65 and older, those in nursing homes or long-term

  care facilities, and people of all ages who are immunocompromised. Centers for Disease Control

  and       Prevention,       People       Who       Need       to   Take     Extra      Precautions,

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/index.html (last visited Jun.

  24, 2020). It was clear the best way to prevent illness is to avoid being exposed to this virus. This

  basic fact concerned the State of New Jersey, so the state issued various orders, including those

  which required its citizens to remain at home, but if you had to go out, you needed to practice

  social distancing and ensure proper hygiene to minimize the risk of infection. State of New

  Jersey Governor Phil Murphy, https://www.nj.gov/governor/news/news/562020/20200320j.shtml

  (last visited Jun. 24, 2020); See also, State of New Jersey Department of Health, Communicable

  Disease    Service,     https://www.state.nj.us/health/cd/topics/covid2019_community.shtml      (last

  visited Jun. 24, 2020).

           This “social distancing” and stay at home order also applied to the courts of New Jersey,

  which obviously made it nearly impossible to conduct legal affairs as had been normal. See

  Kolawole O.T. v. Ahrendt, 2020 U.S. Dist. LEXIS 101307, 6-15, Civil Action No. 19-21802-

  MCA (D.N.J. June 10, 2020).

           B. Specific orders related to the New Jersey Federal Courts




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         In response to the Covid-19 national emergency declaration, as set forth in U.S. District

  Court of New Jersey, Standing Order 2020-12, which superseded previous Standing Orders

  2020-02, 2020-03, 2020-04 and 2020-09, see Exhibit B, the New Jersey District Court ordered,

  in pertinent part as follows:

                 The Court ORDERS that this Standing Order supersedes Standing
                 Orders 2020-02, 2020-03, 2020-04 and 2020-09…
                 The Court ORDERS that the provisions in its prior Standing
                 Orders that, all filing and discovery deadlines in civil matters that
                 fell between March 25, 2020 and April 30, 2020 were extended by
                 forty-five (45), and those that fell between May 1, 2020 and May
                 31, 2020 were extended by thirty (30) days, remain in effect,
                 unless a presiding judge in an individual case directs otherwise.
                 This Order affords no further extensions of filing and discovery
                 deadlines. This extension does not apply to any scheduled dates of
                 conferences, which are controlled by the presiding judge…
                 The Court further ORDERS that all deadlines set by Federal or
                 Local Rules or Court Orders, including, but not limited to,
                 scheduling orders in all civil cases, remain in effect unless
                 modified by this Standing Order, further Order of the Court or by
                 Order of the assigned judicial officer. Any dispute over whether
                 discovery can be effectively accomplished in a manner consistent
                 with applicable health guidelines may be referred to the Magistrate
                 Judge for resolution. Judicial officers may apply the principles of
                 flexibility and accommodation to reasonable requests for filing or
                 scheduling adjustments necessitated by reasonable and fact- based
                 travel, health or safety concerns, or advice or directives of public
                 health officials…
                 The Court ORDERS that aside from ordering a jury trial,
                 individual judges presiding over civil and criminal proceedings
                 may take such actions consistent with this Order and the Recovery
                 Guidelines as may be lawful and appropriate to ensure the fairness
                 of the proceedings and preserve the substantial rights of the
                 parties…
                 The Court ORDERS that any litigant may seek such relief from
                 this Order that he/she deems necessary due to emergent
                 circumstances.
                 The Court further ORDERS that additional Orders addressing
                 Court Operations Under the Exigent Circumstances Created by

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                   COVID-19 shall be entered as warranted, and that this Standing
                   Order will expire no later than August 31, 2020, unless extended
                   by further Order of the Court…”
  See Exhibit B.

         A reasonable reading of these orders implies that remand motions should be liberally

  interpreted in light of such emergent situations, that “snap removals” must be disfavored and

  subject to remand pending the expiration of the emergency rules as set forth above. This Order

  clearly states that any filing deadlines occurring between March 25, 2020 and April 30, 2020 are

  extended 45 days, and those deadlines occurring from May 1, 2020 to May 31, 2020, are

  extending by 30 days. Reading that with other subparts, this Order means that cases should be

  treated with rulings consistent with fundamental fairness and these Orders. Nothing is more

  fundamentally fair than allowing objecting Plaintiffs the right to file the appropriate remand

  motions to respect their choice of venue in New Jersey. Old “snap removal” rules cannot hold

  sway in the Covid-19 Emergency, when the Orders are designed to alter such rules to reflect the

  extra short period of time required to effect service on Defendants properly joined.

        C.         Specific orders related to the New Jersey State Court

        The question of “remand” to NJ State Court must be a function of whether the “snap

  removal” was appropriate is a matter of NJ State law. In accord with the Federal Emergency

  Rules, the State Courts in New Jersey had and still have similar rules in place. On March 15,

  2020, the New Jersey Supreme Court ordered that “time constraints for discovery will be

  relaxed” and that “filings still will be accepted through eCourts for applicable case types and on

  paper for other cases with the required fee to be submitted as usual.” Exhibit A. It did not

  require electronic filings, and in MCL cases, the practice, protocol and procedure at the time was



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  to mail in the Complaints. Then on March 27, 2020, the New Jersey Supreme Court ordered that

  “Rule 4:4-1 is relaxed and supplemented to extend the time period for issuance of a summons

  from within 15 days to within 60 days….” Id., at (3)(d). The Covid-19- Second Omnibus Order

  On Court Operations And Legal Practice - More Operations To Be Conducted Remotely;

  Exhibit A, provides, in pertinent part as follows:

                 During the COVID-19 pandemic, most court operations have
                 continued remotely in all levels of the court system. Since
                 transitioning to virtual operations, the courts have conducted more
                 than 12,000 remote court events involving more than 80,000
                 participants…

                 The COVID-19 pandemic continues to affect attorneys, parties,
                 and others, both professionally and personally. "In recognition of
                 the pervasive and severe effects of the COVID-19 public health
                 crisis, the court in any individual matter consistent with Rule 1:1-
                 2(a) may suspend proceedings, extend discovery or other
                 deadlines, or otherwise accommodate the legitimate needs of
                 parties, attorneys, and others in the interests of justice." Such
                 individual requests for extensions may be submitted by letter in
                 lieu of a formal motion…

                 The New Jersey courts are continuing to provide meaningful
                 access to justice throughout this unprecedented emergency.
                 Sustaining and expanding that access requires a careful and
                 considered balancing of the important interests at stake, as
                 implemented in the Court's April 24 Second Omnibus Order. As
                 the COVID-19 pandemic continues, the Court will revisit these
                 matters and adjust as appropriate...

  See Exhibit A. This did not change the method of filing Complaints.

         Moreover, reading this clearly implies that stringent time limits encompassed by the prior

  “snap removals” must be read in accord with fundamental fairness, or as specified above,

  “balancing” of the important interest as stake”. Here, those interests compel an “expansion” of




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  the rules regarding remand where in less serious pandemic times, the old “snap removals” may

  be far more palatable than they are in quieter times.

            Hospira’s gamesmanship in violation of these New Jersey State orders during this

  pandemic is evident in their pleadings. The Bramblett Notice of Removal was so hastily drawn

  that it failed to mention the facts surrounding service, only that that it was allegedly not

  accomplished. Ex. C. They did not even note they are not a party to the litigation. Id. The

  burden is on the party removing to prove it did not receive notice. With the Court losing the

  Complaints, failing to provide any notice to Plaintiff that the cases were found and filed with

  conformed Complaints being ready for service in addition to the fact that Sanofi’s headquarters

  was closed and not accepting service, these are but a few of the many issues during this

  pandemic for why “snap removals” should not be considered during in these matters. See

  Exhibit F. Merely stating it as an allegation is hardly meeting it’s burden of proof, especially

  when “snap removals” are so hastily undertaken that they are not even a party to the lawsuit they

  remove. We are unsure which other Notices of Removal are equally infirm.

     III.      The MDL should vacate CTO-57 and allow the transferor court to rule on the
                                        Motion to Remand.

            Plaintiffs further submit that a transfer to another court before the putative transferor

  court decides the motion to remand would be inappropriate and a needless waste of all parties’

  time and resources. The transferor court retains jurisdiction on pending motions despite the entry

  of a conditional transfer order. See, e.g., Smith v. Mail Boxes, Etc., 191 F.Supp.2d 1155, 1157

  (E.D. Cal. 2002) (quoting J.P.M.L. R. 1.5: “… conditional transfer order … does not affect or

  suspend orders and pretrial proceedings in the district court in which the action is pending and

  does not in any way limit the pretrial jurisdiction of that court”); Kohl v. Am. Home Prods.

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  Corp., 78 F. Supp. 885, 888 (W.D. Ark. 1999) (same); Illinois Municipal Retirement Fund v.

  CitiGroup, Inc., 391 F.3d 844, 851-52 (7th Cir. 2004) (in a case involving a remand order by a

  district court, while an MDL had already been created, the Seventh Circuit held “[w]e will not

  require a district court that believes that it lacks subject matter jurisdiction over a case to

  facilitate a transfer under § 1407, a statute that does not itself confer jurisdiction.”).

          Transfer to another federal court when the subject matter jurisdiction of the transferor

  court has been vigorously and fully contested, by both Plaintiffs and some Defendants in the

  instant action, is especially inappropriate. As the Sixth Circuit Court of Appeals has observed in

  a similar context:

          No matter how desirable respondents feel it may be to consolidate in California
          all litigation in any way related to [the common question], there is nothing in the
          applicable statute to provide an exception to the rules normally governing
          removal of cases from state courts. Such a transfer cannot be made unless the
          district court properly has jurisdiction of the subject matter of the case.

   Bancohio Corp. v. Fox, 516 F.2d 29, 32 (6th Cir. 1975).

          Transferor courts are thus encouraged to decide motions to remand during the pendency

  of conditional transfer orders. In Totola Restaurants, L.P. v. Kimberly-Clark Corp., 987 F. Supp.

  1186 (N.D. Cal. 1997), the court noted that it, as the transferor court, “ . . . retains exclusive

  jurisdiction until the §1407 transfer becomes effective and, as such, motions to remand [to state

  court] should be resolved before the panel acts on the motion to transfer.” Id. at 1189. Likewise,

  in McQuilkin v. Ford Motor Co., Nos. 01-01-92, 2001 WL 197840 (E.D. La. Feb. 23, 2001), the

  court refused to refrain from ruling on a motion to remand merely because a conditional transfer

  order had been entered, finding that “the motion to remand centers on questions of state law with

  which the transferor court is more likely to be familiar that the MDL transferee court.” Id. at *1.


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          The questions raised by Defendant’s removal of this action strike at the heart of

  constitutional constraints on federal jurisdiction and principles of comity between state and

  federal courts. Hospira’s “hawk” approach to the docket and attempt to remove the action to

  federal court pre-service to purportedly avoid any “home court” bias of the state court –

  especially where one of the other defendants, Sanofi who created the patent for Taxotere, is a

  disingenuous argument. Plaintiffs’ Motion to Remand raises issues relating to Defendant’s legal

  gamesmanship of removing this action before the court even notified Plaintiff counsel that any

  complaint was filed. These considerations weigh heavily in favor of vacating the conditional

  transfer order to discourage gamesmanship by defendants as “[a]ll doubts about federal

  jurisdiction should be resolved in favor of remand to state court,” In re Prempro Products

  Liability Litigation, 591 F.3d at 620.

                                           CONCLUSION

          For the foregoing reasons, Plaintiffs’ concurrently-filed Motion to Vacate CTO-57

  regarding the above-referenced matters, as identified in the attached Schedule of Actions, should

  be granted. Therefore, Plaintiff respectfully requests that this panel vacate CTO-57 as it relates to

  Plaintiffs.



  DATED: June 25, 2020

                                                        Respectfully submitted,

                                                        /s/ Karen H. Beyea-Schroeder
                                                        Riley L. Burnett, Jr.
                                                        Karen Beyea-Schroeder
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                      BEFORE THE UNITED STATES JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION


  IN RE: TAXOTERE (DOCETAXEL)                                              MDL No. 2740
  PRODUCTS LIABILITY LITIGATION

  This Document Relates to the Case Identified
  Below:


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  Pack Jordan, Donna v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06503 (D. NJ)
  Cora, Carmela v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06474 (D. NJ)
  Gamboa, Georgina v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06481 (D. NJ)
  Glover, Tena v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06463 (D. NJ)
  Gough, Sandra v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06492 (D. NJ)
  Rooney, Donna v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06478 (D. NJ)
  Vick, Susan v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06487 (D. NJ)
  Blades, Carla v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06527 (D. NJ)
  Bramblett, Patricia v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06550 (D. NJ)
  Chaisson-Ricker, Elizabeth v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06530 (D. NJ)
  Cabrera, Ailene v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06538 (D. NJ)
  Bidwell, Susan v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06519 (D. NJ)
  Bryant, Cynthia v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06506 (D. NJ)
  Cooper, Romancia v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06521 (D. NJ)
  Payton, Towanda v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06523 (D. NJ)
  Sullivan, Charistian v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06516 (D. NJ)

     DEFENDANTS SANOFI U.S. SERVICES INC. AND SANOFI-AVENTIS U.S. LLC’S
         RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE
                     CONDITIONAL TRANSFER ORDER 56

          Defendants Sanofi U.S. Services Inc. and sanofi-aventis U.S. LLC (collectively

  “Sanofi”), by and through counsel, submit this Response in Opposition to Plaintiffs’ Motion to

  Vacate Conditional Transfer Order 56, and respectfully request that the Panel transfer these

  actions to Multidistrict Litigation No. 2740 (“MDL 2740”) without further delay.




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                                          INTRODUCTION

           Plaintiffs have moved to vacate the order transferring the above-captioned actions to the

  Honorable Jane Triche Milazzo of the Eastern District of Louisiana for coordinated pretrial

  proceedings pursuant to 28 U.S.C. § 1407.         In support, Plaintiffs discuss subjects that are

  irrelevant to whether or not this Panel may transfer the actions at issue to MDL 2740. Plaintiffs

  blame others for failing to manage their own cases. First, they blame New Jersey state court for

  “losing the Complaints,” and failing to provide notice to Plaintiffs that their cases had been

  filed.1 Mot. to Vacate (Doc. 626) at 1-2. Next, they blame Sanofi for closing their headquarters

  due to the COVID pandemic.2 Id. at 2. Then they blame Defendants for learning that a lawsuit

  had been filed against them, claiming such conduct is “reprehensible.”            Id. at 4.   These

  arguments are not only irrelevant, they are nonsensical. It is Plaintiffs’ responsibility – and their

  responsibility alone – to manage and promptly serve their legal actions as required by law. Their

  failure to do so does not prevent transfer of these actions to MDL 2740. Moreover, no pending

  motion to remand before the District of New Jersey should bar transfer. This Panel has rejected

  this argument many times over, and for the reasons discussed herein, the Panel should reject it

  again.

           On October 4, 2016, this Panel created an MDL titled In re: Taxotere (Docetaxel)

  Products Liability Litigation. (Doc. 81). Since then, hundreds of cases have been transferred to

  the MDL, which now has more than 12,500 pending cases. In each, the plaintiff alleges that she

  experienced permanent alopecia as a result of receiving chemotherapy with Taxotere®/docetaxel.


  1
   All of these cases had been entered on the docket (and available on the New Jersey judiciary
  website) for several days before Defendants removed – some for as long as a week.
  2
   When Sanofi’s headquarters was closed, Sanofi could be served via registered agent or certified
  mail. It was served in several other cases during that time.
                                                   2


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  These cases are no different. In CTO-56, the Panel stated that, “[i]t appears that the action(s) on

  this conditional transfer order involve questions of fact that are common to the actions previously

  transferred to the Eastern District of Louisiana and assigned to Judge Milazzo.” See Conditional

  Transfer Order (CTO-56) (Doc. 601). The Panel is correct.

          As this Panel has previously recognized, the pendency of a motion to remand is not a

  proper ground for vacating a Conditional Transfer Order because the transferee judge can easily

  rule on such motions in the MDL. Plaintiffs’ contrary allegations notwithstanding, transfer to the

  MDL – along with all other similarly-situated actions – will promote the just and efficient

  conduct of the litigation. These cases should be transferred to Judge Milazzo without delay.

                                           ARGUMENT

          As a preliminary matter, the merits of Plaintiffs’ omnibus remand motion are not at issue

  here.   “Section 1407 does not empower the MDL Panel to decide questions going to the

  jurisdiction or the merits of a case, including issues relating to a motion to remand.” In re Ivy,

  901 F.2d 7, 9 (2d Cir. 1990). However, Sanofi strongly believes that the removal of these cases

  is proper and that these cases will therefore remain in federal court. The Second, Third, and

  Fifth Circuit Court of Appeals, as well as numerous district courts, have concluded that 28

  U.S.C. § 1441(b)(2) permits defendants, including forum defendants, to remove before service of

  process. See, e.g., Texas Brine Co., L.L.C. v. Am. Arbitration Ass’n, Inc., 955 F.3d 482, 485-87

  (5th Cir. 2020); Gibbons v. Bristol-Myers Squibb Co., 919 F.3d at 706-07 (2d Cir.

  2019); Encompass Ins. Co. v. Stone Mansion Rest. Inc., 902 F.3d 147, 153-54 (3d Cir. 2018)

  (holding pre-service removal of action involving forum-defendant proper based upon the plain




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  language of the statute).3 Regardless, the remand issue is not before the MDL Panel. Instead,

  “the sole issue . . . is the merits of the transfer viewed against the purposes of the multidistrict

  statutory scheme.” In re Ivy, 901 F.2d at 9.

          Under 28 U.S.C. § 1407, the Panel has authority to transfer civil actions pending in

  different districts to any district for coordinated or consolidated pretrial proceedings if: (i) the

  actions involve one or more common questions of fact; (ii) transfer would serve the convenience

  of the parties and witnesses; and (iii) transfer would promote the just and efficient conduct of the

  actions. See 28 U.S.C. § 1407(a). These actions clearly satisfy each of these requirements. Like

  the Complaints in the other cases already transferred to the Taxotere MDL, these Plaintiffs allege

  they experienced permanent alopecia as a result of receiving chemotherapy with

  Taxotere®/docetaxel. Plaintiffs cannot and do not dispute that their respective lawsuits raise



  3
    See also Poznanovich v. AstraZeneca Pharm. LP, 2011 WL 6180026, at *4 (D.N.J. Dec. 12,
  2011) (“The language of the statute is clear that Congress intended § 1441(b)’s prohibition on
  removal to apply not merely where a forum defendant is properly joined in the action, but only
  where service has been effected on that forum defendant.”); Bivins v. Novartis Pharm. Corp.,
  2009 WL 2496518, at *2 (D.N.J. Aug. 10, 2009) (“Here, the statutory language is clear: removal
  is prohibited only where a defendant, who is a resident of the forum state, has been properly
  joined and served.”) (internal quotations omitted, emphasis in original); Jaeger v. Schering
  Corp., 2007 WL 3170125, at *3 (D.N.J. Oct. 25, 2007) (“this Court must give effect to the literal
  interpretation in the absence of a contrary Congressional intent and reject Plaintiffs’ attempt to
  ignore the plain language of the statute and circumvent Congress’s express intention”; “[T]here
  is no dispute that Defendants were not served at the time removal was filed. Accordingly, there
  is no applicable limitation on Defendants’ right to remove the matter to this Court.”); Yocham v.
  Novartis Pharm. Corp., 2007 WL 2318493, at *3 (D.N.J. Aug. 13, 2007) (denying remand
  motion based upon “a plain reading of § 1441(b) and straightforward application of it”);
  Thomson v. Novartis Pharm. Corp., 2007 WL 1521138, at *4 (D.N.J. May 22, 2007) (denying
  remand based upon a “plain reading of § 1441(b)”); Ripley v. Eon Labs Inc., 622 F. Supp. 2d
  137, 142 (D.N.J. 2007) (“The plain language of 28 U.S.C. § 1441(b), despite the numerous
  policy arguments against it, permits removal of this case from the Superior Court of New Jersey
  to this Court”); Frick v. Novartis Pharmaceuticals Corp., 2006 WL 454360, at *3 (D.N.J. Feb.
  23, 2006) (“[W]e find that the language of the statute is unambiguous [and] it is not readily
  apparent that applying the clear language of the statute to the present case would produce a result
  that is demonstrably at odds with the intentions of Congress.”).
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  common questions of fact with the other actions in MDL 2740; instead, their argument is that

  transfer to the MDL before the District of New Jersey decides the motion to remand “would be

  inappropriate and a needless waste of all parties’ time and resources.” See Memo. in Supp. of

  Mot. to Vacate (Doc. 626-1) at 13-15. The Panel has consistently rejected similar arguments and

  should do so again here.

          Stated simply, the “pendency of a motion to remand to state court is not a sufficient basis

  to avoid inclusion in Section 1407 proceedings. We note that motions to remand . . . can be

  presented to and decided by the transferee judge.” In re VIOXX Prods. Liab. Litig., 360 F. Supp.

  2d 1352, 1354 (J.P.M.L. 2005). Indeed judicial efficiency is often better-served by permitting

  the MDL Court to decide a remand motion. See, e.g., In re Bayer Corp. Combination Aspirin

  Prod. Mktg. & Sales Practices Litig., 609 F. Supp. 2d 1379, 1379-80 (J.P.M.L. 2009); In re

  Gadolinium Contrast Dyes Prods. Liab. Litig., 559 F. Supp. 2d 1402, 1403 (J.P.M.L. 2008)

  (“Plaintiffs can present their motions for remand to state court to the transferee court.”); In re

  Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347 (J.P.M.L. 2001)

  (“there is no need to delay transfer in order to accommodate any interest of the transferor court in

  resolving a pending remand motion.”); In re Amino Acid Lysine Antitrust Litig., 910 F. Supp.

  696, 700 (J.P.M.L. 1995) (“We observe that the pending motion to remand to the Northern

  District of Alabama action to state court can be presented to and decided by the transferee

  judge.”); In re Fed. Election Campaign Act Litig., 511 F. Supp. 821, 824 (J.P.M.L. 1979)

  (transfer would enable “a single judge to consider these motions and thus will have the salutary

  effect of promoting judicial economy and avoiding inconsistent adjudications regarding this

  particular issue.”); In re Air Crash Disaster at Fla. Everglades on Dec. 29, 1972, 368 F. Supp.

  812, 813 (J.P.M.L. 1973) (“We see no reason for delaying our decision. Because these actions

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  involve questions of fact identical to those raised in the actions previously transferred by the

  Panel, transfer is necessary in order to eliminate the possibility of duplicative discovery and

  conflicting pretrial rulings.”).

            These cases are no different. There is no good reason consistent with the policies

  underpinning 28 U.S.C. § 1407 why Judge Milazzo cannot hear Plaintiffs’ remand motion after

  transfer. Plaintiffs’ Omnibus Motion to Remand is not unique. The crux of Plaintiffs’ Motion is

  that federal subject matter jurisdiction is lacking because certain Defendants are “citizens” of

  New Jersey, i.e., “forum defendants.” This jurisdictional issue is “easily capable of arising in

  hundreds of other cases in other district courts throughout the nation” – each of which shares the

  same common questions of law and fact with this product liability lawsuit. In re Ivy, 901 F. 2d at

  9; see also Transfer Order, In re: Taxotere Docetaxel Prod. Liab. Litig., MDL No. 2740

  (J.P.M.L. Apr. 5, 2017), ECF No. 357 (transferring “snap removed” cases to MDL 2740 finding

  “these actions involve common questions of fact with the actions transferred to MDL No. 2740,

  and that transfer under 28 U.S.C. § 1407 will serve the convenience of the parties and witnesses

  and promote the just and efficient conduct of the litigation”). In fact, there is another case

  pending transfer where this jurisdictional issue has arisen.4 Thus, the real economy lies in

  transferring all similarly-situated cases to MDL 2740, so that “the [same] jurisdictional

  objections can be heard and resolved by a single court and reviewed at the appellate level in due

  course. Consistency as well as economy is thus served.” See In re Ivy, 901 F. 2d at 9.

            The transfer of these cases to MDL 2740 will enable the parties to take advantage of the

  multiple efficiencies and savings of time and resources associated with consolidated and

  coordinated pretrial proceedings.

  4
      See, e.g., Andrews v. Sanofi S.A., et al., 3:20-cv-06834 (D.N.J.).
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                                          CONCLUSION

          These cases are no different than the other cases involving Taxotere®/docetaxel that have

  already been transferred to MDL 2740. It is a simple, longstanding rule of this Court that

  questions regarding federal jurisdiction do not preclude MDL transfer under 28 U.S.C. § 1407.

  As established above, Plaintiffs’ arguments to the contrary lack merit, and their Motion to Vacate

  Conditional Transfer Order 56 should be denied.

  Dated: July 10, 2020

                                                      /s/ Jon A. Strongman
                                                      Jon A. Strongman
                                                      SHOOK, HARDY & BACON, L.L.P.
                                                      2555 Grand Boulevard
                                                      Kansas City, Missouri 64108
                                                      Telephone: 816.474.6550
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                                                      SANOFI U.S. SERVICES INC. AND
                                                      SANOFI-AVENTIS U.S. LLC




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                      BEFORE THE UNITED STATES JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION


  IN RE: TAXOTERE (DOCETAXEL)                                              MDL No. 2740
  PRODUCTS LIABILITY LITIGATION

  This Document Relates to the Case Identified
  Below:


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  Andrews, Phyllis v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06834 (D. NJ)

      DEFENDANTS SANOFI U.S. SERVICES INC. AND SANOFI-AVENTIS U.S. LLC’S
          RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION TO VACATE
                      CONDITIONAL TRANSFER ORDER 57

          Defendants Sanofi U.S. Services Inc. and sanofi-aventis U.S. LLC (collectively

  “Sanofi”), by and through counsel, submit this Response in Opposition to Plaintiff’s Motion to

  Vacate Conditional Transfer Order 57, and respectfully requests that the Panel transfer this

  action to Multidistrict Litigation No. 2740 (“MDL 2740”) without further delay.

                                        INTRODUCTION

          Plaintiff has moved to vacate the order transferring the above-captioned action to the

  Honorable Jane Triche Milazzo of the Eastern District of Louisiana for coordinated pretrial

  proceedings pursuant to 28 U.S.C. § 1407. In support, Plaintiff discusses subjects that are

  irrelevant to whether or not this Panel may transfer the action at issue to MDL 2740. Plaintiff

  blames others for failing to manage her own case. First, she blames New Jersey state court for

  “losing the Complaint” and failing to provide notice to Plaintiff that her case had been filed.1


  1
   This case was entered on the docket (and available on the New Jersey judiciary website) on
  May 27, 2020, more than a week before Defendants removed on June 4, 2020.
                                                 1


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  Mot. to Vacate (Doc. 625) at 1-2. Next, Plaintiff blames Sanofi for closing their headquarters

  due to the COVID pandemic.2 Id. at 2. Then she blames Defendants for learning that a lawsuit

  had been filed against them, claiming such conduct is “reprehensible.”            Id. at 4.   These

  arguments are not only irrelevant, they are nonsensical. It is Plaintiff’s responsibility – and her

  responsibility alone – to manage and promptly serve her legal action as required by law. Her

  failure to do so does not prevent transfer of this action to MDL 2740. Moreover, no pending

  motion to remand before the District of New Jersey should bar transfer. This Panel has rejected

  this argument many times over, and for the reasons discussed herein, the Panel should reject it

  again.

           On October 4, 2016, this Panel created an MDL titled In re: Taxotere (Docetaxel)

  Products Liability Litigation. (Doc. 81). Since then, hundreds of cases have been transferred to

  the MDL, which now has more than 12,500 pending cases. In each, the plaintiff alleges that she

  experienced permanent alopecia as a result of receiving chemotherapy with Taxotere®/docetaxel.

  This case is no different. In CTO-57, the Panel stated that, “[i]t appears that the action(s) on this

  conditional transfer order involve questions of fact that are common to the actions previously

  transferred to the Eastern District of Louisiana and assigned to Judge Milazzo.” See Conditional

  Transfer Order (CTO-57) (Doc. 604). The Panel is correct.

           As this Panel has previously recognized, the pendency of a motion to remand is not a

  proper ground for vacating a Conditional Transfer Order because the transferee judge can easily

  rule on such motions in the MDL. Plaintiff’s contrary allegations notwithstanding, transfer to the




  2
   When Sanofi’s headquarters was closed, Sanofi could be served via registered agent or certified
  mail. It was served in several other cases during that time.
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  MDL – along with all other similarly-situated actions – will promote the just and efficient

  conduct of the litigation. This case should be transferred to Judge Milazzo without delay.

                                            ARGUMENT

          As a preliminary matter, the merits of Plaintiff’s remand motion is not at issue here.

  “Section 1407 does not empower the MDL Panel to decide questions going to the jurisdiction or

  the merits of a case, including issues relating to a motion to remand.” In re Ivy, 901 F.2d 7, 9 (2d

  Cir. 1990). However, Sanofi strongly believes that the removal of this case is proper and that

  this case will therefore remain in federal court. The Second, Third, and Fifth Circuit Court of

  Appeals, as well as numerous district courts, have concluded that 28 U.S.C. § 1441(b)(2) permits

  defendants, including forum defendants, to remove before service of process. See, e.g., Texas

  Brine Co., L.L.C. v. Am. Arbitration Ass’n, Inc., 955 F.3d 482, 485-87 (5th Cir. 2020); Gibbons

  v. Bristol-Myers Squibb Co., 919 F.3d at 706-07 (2d Cir. 2019); Encompass Ins. Co. v. Stone

  Mansion Rest. Inc., 902 F.3d 147, 153-54 (3d Cir. 2018) (holding pre-service removal of action

  involving forum-defendant proper based upon the plain language of the statute).3 Regardless, the



  3
    See also Poznanovich v. AstraZeneca Pharm. LP, 2011 WL 6180026, at *4 (D.N.J. Dec. 12,
  2011) (“The language of the statute is clear that Congress intended § 1441(b)’s prohibition on
  removal to apply not merely where a forum defendant is properly joined in the action, but only
  where service has been effected on that forum defendant.”); Bivins v. Novartis Pharm. Corp.,
  2009 WL 2496518, at *2 (D.N.J. Aug. 10, 2009) (“Here, the statutory language is clear: removal
  is prohibited only where a defendant, who is a resident of the forum state, has been properly
  joined and served.”) (internal quotations omitted, emphasis in original); Jaeger v. Schering
  Corp., 2007 WL 3170125, at *3 (D.N.J. Oct. 25, 2007) (“this Court must give effect to the literal
  interpretation in the absence of a contrary Congressional intent and reject Plaintiffs’ attempt to
  ignore the plain language of the statute and circumvent Congress’s express intention”; “[T]here
  is no dispute that Defendants were not served at the time removal was filed. Accordingly, there
  is no applicable limitation on Defendants’ right to remove the matter to this Court.”); Yocham v.
  Novartis Pharm. Corp., 2007 WL 2318493, at *3 (D.N.J. Aug. 13, 2007) (denying remand
  motion based upon “a plain reading of § 1441(b) and straightforward application of it”);
  Thomson v. Novartis Pharm. Corp., 2007 WL 1521138, at *4 (D.N.J. May 22, 2007) (denying
  remand based upon a “plain reading of § 1441(b)”); Ripley v. Eon Labs Inc., 622 F. Supp. 2d
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  remand issue is not before the MDL Panel. Instead, “the sole issue . . . is the merits of the

  transfer viewed against the purposes of the multidistrict statutory scheme.” In re Ivy, 901 F.2d at

  9.

          Under 28 U.S.C. § 1407, the Panel has authority to transfer civil actions pending in

  different districts to any district for coordinated or consolidated pretrial proceedings if: (i) the

  actions involve one or more common questions of fact; (ii) transfer would serve the convenience

  of the parties and witnesses; and (iii) transfer would promote the just and efficient conduct of the

  actions. See 28 U.S.C. § 1407(a). This action clearly satisfies each of these requirements. Like

  the Complaints in the other cases already transferred to the Taxotere MDL, this Plaintiff alleges

  she experienced permanent alopecia as a result of receiving chemotherapy with

  Taxotere®/docetaxel. Plaintiff cannot and does not dispute that her lawsuit raises common

  questions of fact with the other actions in MDL 2740; instead, her argument is that transfer to the

  MDL before the District of New Jersey decides the motion to remand “would be inappropriate

  and a needless waste of all parties’ time and resources.” See Mot. to Vacate (Doc. 625-1) at 13-

  15. The Panel has consistently rejected similar arguments and should do so again here.

          Stated simply, the “pendency of a motion to remand to state court is not a sufficient basis

  to avoid inclusion in Section 1407 proceedings. We note that motions to remand . . . can be

  presented to and decided by the transferee judge.” In re VIOXX Prods. Liab. Litig., 360 F. Supp.

  2d 1352, 1354 (J.P.M.L. 2005). Indeed judicial efficiency is often better-served by permitting



  137, 142 (D.N.J. 2007) (“The plain language of 28 U.S.C. § 1441(b), despite the numerous
  policy arguments against it, permits removal of this case from the Superior Court of New Jersey
  to this Court”); Frick v. Novartis Pharmaceuticals Corp., 2006 WL 454360, at *3 (D.N.J. Feb.
  23, 2006) (“[W]e find that the language of the statute is unambiguous [and] it is not readily
  apparent that applying the clear language of the statute to the present case would produce a result
  that is demonstrably at odds with the intentions of Congress.”).
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  the MDL Court to decide a remand motion. See, e.g., In re Bayer Corp. Combination Aspirin

  Prod. Mktg. & Sales Practices Litig., 609 F. Supp. 2d 1379, 1379-80 (J.P.M.L. 2009); In re

  Gadolinium Contrast Dyes Prods. Liab. Litig., 559 F. Supp. 2d 1402, 1403 (J.P.M.L. 2008)

  (“Plaintiffs can present their motions for remand to state court to the transferee court.”); In re

  Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347 (J.P.M.L. 2001)

  (“there is no need to delay transfer in order to accommodate any interest of the transferor court in

  resolving a pending remand motion.”); In re Amino Acid Lysine Antitrust Litig., 910 F. Supp.

  696, 700 (J.P.M.L. 1995) (“We observe that the pending motion to remand to the Northern

  District of Alabama action to state court can be presented to and decided by the transferee

  judge.”); In re Fed. Election Campaign Act Litig., 511 F. Supp. 821, 824 (J.P.M.L. 1979)

  (transfer would enable “a single judge to consider these motions and thus will have the salutary

  effect of promoting judicial economy and avoiding inconsistent adjudications regarding this

  particular issue.”); In re Air Crash Disaster at Fla. Everglades on Dec. 29, 1972, 368 F. Supp.

  812, 813 (J.P.M.L. 1973) (“We see no reason for delaying our decision. Because these actions

  involve questions of fact identical to those raised in the actions previously transferred by the

  Panel, transfer is necessary in order to eliminate the possibility of duplicative discovery and

  conflicting pretrial rulings.”).

          This case is no different.     There is no good reason consistent with the policies

  underpinning 28 U.S.C. § 1407 why Judge Milazzo cannot hear Plaintiff’s remand motion after

  transfer. Plaintiff’s Motion to Remand is not unique. The crux of Plaintiff’s Motion is that

  federal subject matter jurisdiction is lacking because certain Defendants are “citizens” of New

  Jersey, i.e., “forum defendants.”     This jurisdictional issue is “easily capable of arising in

  hundreds of other cases in other district courts throughout the nation” – each of which shares the

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  same common questions of law and fact with this product liability lawsuit. In re Ivy, 901 F. 2d at

  9; see also Transfer Order, In re: Taxotere Docetaxel Prod. Liab. Litig., MDL No. 2740

  (J.P.M.L. Apr. 5, 2017), ECF No. 357 (transferring “snap removed” cases to MDL 2740 finding

  “these actions involve common questions of fact with the actions transferred to MDL No. 2740,

  and that transfer under 28 U.S.C. § 1407 will serve the convenience of the parties and witnesses

  and promote the just and efficient conduct of the litigation”). In fact, there are several other

  cases pending transfer where this jurisdictional issue has arisen.4 Thus, the real economy lies in

  transferring all similarly-situated cases to MDL 2740, so that “the [same] jurisdictional

  objections can be heard and resolved by a single court and reviewed at the appellate level in due

  course. Consistency as well as economy is thus served.” See In re Ivy, 901 F. 2d at 9.

            Transfer of this case to MDL 2740 will enable the parties to take advantage of the

  multiple efficiencies and savings of time and resources associated with consolidated and

  coordinated pretrial proceedings.




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    See, e.g., Pack Jordan, Donna v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06503 (D. NJ);
  Cora, Carmela v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06474 (D. NJ); Gamboa,
  Georgina v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06481 (D. NJ); Glover, Tena v. Sanofi
  U.S. Services Inc., et al., No. 3:20-cv-06463 (D. NJ); Gough, Sandra v. Sanofi U.S. Services Inc.,
  et al., No. 3:20-cv-06492 (D. NJ); Rooney, Donna v. Sanofi U.S. Services Inc., et al., No. 3:20-
  cv-06478 (D. NJ); Vick, Susan v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06487 (D. NJ);
  Blades, Carla v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06527 (D. NJ); Bramblett, Patricia
  v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06550 (D. NJ); Chaisson-Ricker, Elizabeth v.
  Sanofi U.S. Services Inc., et al., No. 3:20-cv-06530 (D. NJ); Cabrera, Ailene v. Sanofi U.S.
  Services Inc., et al., No. 3:20-cv-06538 (D. NJ); Bidwell, Susan v. Sanofi U.S. Services Inc., et
  al., No. 3:20-cv-06519 (D. NJ); Bryant, Cynthia v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-
  06506 (D. NJ); Cooper, Romancia v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06521 (D. NJ)
  Payton, Towanda v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06523 (D. NJ); Sullivan,
  Charistian v. Sanofi U.S. Services Inc., et al., No. 3:20-cv-06516 (D. NJ).
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                                         CONCLUSION

          This case is no different than the other cases involving Taxotere®/docetaxel that have

  already been transferred to MDL 2740. It is a simple, longstanding rule of this Court that

  questions regarding federal jurisdiction do not preclude MDL transfer under 28 U.S.C. § 1407.

  As established above, Plaintiff’s arguments to the contrary lack merit, and her Motion to Vacate

  Conditional Transfer Order 57 should be denied.

  Dated: July 10, 2020

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                                                     SANOFI-AVENTIS U.S. LLC




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                      BEFORE THE UNITED STATES JUDICIAL PANEL ON
                           MULTIDISTRICT LITIGATION

  ____________________________________
                                       )
  IN RE: TAXOTERE (DOCETAXEL           )
  PRODUCT LIABILITY LITIGATION )                              MDL DOCKET NO. 2740
  ____________________________________ )

                                  CERTIFICATE OF SERVICE

          In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

  Panel on Multidistrict Litigation, I hereby certify that on July 10, 2020 a copy of the foregoing

  Response in Opposition to Plaintiff’s Motion to Vacate Conditional Transfer Order 57, and this

  Certificate of Service were electronically filed with the Clerk of the JPML by using the CM/ECF

  and was served on all counsel or parties via the Court’s electronic filing system and/or electronic

  mail:

         Case        Jurisdiction     Case No.                 Plaintiffs' Counsel
   Phyllis           District of  3:20-cv-06834-       Karen Beyea-Schroeder
   Andrews v.        New Jersey PGS-DEA                Karen.Schroeder@rburnettlaw.com
   Sanofi U.S.                                         BURNETT LAW FIRM
   Services                                            3737 Buffalo Speedway, Ste. 1850
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  The following parties have been served via electronic mail to counsel of record in MDL 2740
  on July 10, 2020:

    Accord Healthcare, Inc.                           Hospira Worldwide, Inc.; Hospira Inc.
    1009 Slater Road, Suite 210B                      275 N. Field Drive
    Durham, NC 27703                                  Lake Forest, IL 60045
    McKesson Corporation doing d/b/a/                 Sandoz, Inc.
    McKesson Packaging                                100 College Road West
    6535 N. State Highway 161                         Princeton, NJ 08540
    Irving, TX 75039
    Sun Pharmaceutical Industries, Inc.               Actavis LLC; Actavis Pharma, Inc.
    270 Prospect Plains Rd                            400 Interpace Parkway, Bldg A.
    Cranbury, NJ 08512                                Parsippany, NJ 07054
    Pfizer, Inc.                                      Sagent Pharmaceuticals Inc.
    235 E. 42nd Street                                1901 N. Roselle Road, Suite 450
    New York, NY 10017                                Schaumburg, IL 60195


  The following parties are international companies and will not be served.

   Sanofi S.A.                                         Aventis Pharma S.A.
   54, rue La Boetie                                   20 Avenue Raymond Aron
   75008 Paris FRANCE                                  92160 Antony FRANCE
   Sun Pharma Global FZE
   Executive Suite #42, Block Y, SAIF Zone
   P.O. Box 122304
   Sharjah, United Arab Emirates


    Dated: July 10, 2020                                  Respectfully Submitted,

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